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UN|TED STATES OF AN|ER|CA

P|aintiff
VS.
CR. NO. 04-20476-D
DAV|D TATE
Defendant.

 

ORDER ON CONTlNUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on May 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a gm
date ofThursday, June 30. 2005, at 9:00 a.m., in Courtroom 3, 9th F|oor ofthe Federa|
Bui|ding, Nlemphis, TN.

The period from lV|ay 13, 2005 through Ju|y 15, 2005 is excludable under 18 U.S.C.
§ 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time to
prepare outweigh the need for a speedy tria|.

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This document entered on the docket sheet in compliance

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Honorable Bernice Donald
US DISTRICT COURT

